            Case 1:16-cv-02476-TJK Document 50 Filed 03/22/19 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                             )
 AMERICAN BAR ASSOCIATION, et al.,
                                                             )
           Plaintiffs,                                       )
                                                             )
                   v.                                          Civil Action No. 16-2476-TJK
                                                             )
 UNITED STATES DEPARTMENT OF                                 )
 EDUCATION, et al.,                                          )
                                                             )
          Defendants.                                        )


PLAINTIFF JAMIE RUDERT’S MOTION TO ALTER OR AMEND THE JUDGMENT

          Pursuant to Federal Rule of Civil Procedure 59(e), Plaintiff Jamie Rudert respectfully

moves that the Court alter or amend the judgment the Court entered against him and in favor of

Defendants, the U.S. Department of Education (“Department”) and Secretary of Education Betsy

Devos, on February 22, 2019. Mr. Rudert also respectively moves that the Court allow for extra-

record review of a March 20, 2018 Public Service Loan Forgiveness (“PSLF”) eligibility denial

letter that the Department’s PSLF servicer, FedLoan Servicing, sent to one of his former Vietnam

Veterans of America (“VVA”) colleagues. This letter is attached as Exhibit 1 to the Declaration

of Amanda Radke, which is attached as Exhibit B to the accompanying Memorandum of Points

and Authorities.

          As explained in the accompanying Memorandum, the Court’s reconsideration of its grant

of summary judgment against Mr. Rudert is warranted because the evidence is newly discovered

not for lack of due diligence, and is highly probative to a key issue that formed the basis for the

Court’s judgment. Moreover, if allowed to stand, the judgment against Mr. Rudert would result

in manifest injustice by allowing the Department to continue to apply an unlawful standard in

denying PSLF eligibility to Mr. Rudert and others similarly situated. A proposed order is attached

hereto.
         Case 1:16-cv-02476-TJK Document 50 Filed 03/22/19 Page 2 of 3



Dated: March 22, 2019

                                                   Respectfully submitted,

                                                    /s/ Chong S. Park

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                                                   John T. Dey (D.C. Bar No. 1029475)
                                                   Edward F. Roche (D.C. Bar No. 1029012)
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                                                   Attorneys for Plaintiffs



                        LOCAL CIVIL RULE 7(m) STATEMENT

       Undersigned counsel for Plaintiffs conferred in good faith with counsel for Defendants

regarding the substance of this motion. Defendants oppose the motion.



                                                    /s/   Chong S. Park

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                                               2
          Case 1:16-cv-02476-TJK Document 50 Filed 03/22/19 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of March, 2019, I electronically filed the foregoing

motion with the Clerk of the Court using the Court’s electronic filing system, which will send a

notice of electronic filing to all Counsel of Record.



                                                         /s/   Chong S. Park

                                                        Chong S. Park




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